                             United States Government Accountability Office

GAO                          Testimony
                             Before the Committee on Education and
                             Labor, House of Representatives


For Release on Delivery
Expected at 10:00 a.m. EDT
Thursday, April 24, 2008     RESIDENTIAL FACILITIES
                             State and Federal Oversight
                             Gaps May Increase Risk to
                             Youth Well-Being
                             Statement of Kay E. Brown, Director
                             Education, Workforce, and Income Security Issues




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                                                    RESIDENTIAL FACILITIES
             Accountability Integrity Reliability



Highlights
Highlights of GAO-08-696T, a report to the
                                                    State and Federal Oversight Gaps May Increase Risk
                                                    to Youth Well-Being
Committee on Education and Labor,
House of Representatives




Why GAO Did This Study                              What GAO Found
Nationwide, federal funding to                      Survey respondents from 49 states reported investigating complaints of youth
states supported more than 200,000                  maltreatment in residential facilities in 2006, including physical abuse, neglect,
youth in facilities seeking help for                and sexual abuse, and 28 states reported deaths. There were no discernable
behavioral or emotional challenges                  patterns in the types of facilities involved, including whether facilities were
in 2004. Recent federal reviews
                                                    operated by government or private entities, or located in urban or rural areas.
and investigations highlighted
maltreatment in some facilities,                    State officials said that the number of maltreatment incidents was greater than the
resulting in hospitalizations and                   total reported to HHS—1,503 incidents in 2005--due to barriers in data collection
deaths. This testimony discusses                    and reporting, including inconsistent funding and authority.
(1) what is known about incidents
that adversely affect youth well-                   States license and monitor residential facilities, but state agencies reported
being in residential facilities, (2)                oversight gaps that may place youth in some facilities at higher risk for
the extent that state oversight                     maltreatment and death. Some types of facilities are exempt from state licensing
ensures youth well-being in these                   requirements—primarily state operated juvenile justice facilities and private
facilities, and (3) the factors that                residential schools and academies. Licensing standards did not always address
affect the ability of federal agencies              suicide prevention and other common risks. State agencies reported an inability
to hold states accountable for
                                                    to conduct yearly on-site visits to facilities because of fluctuating levels of staff
youth well-being in residential
facilities. This testimony is based                 resources dedicated by states, and infrequently sharing negative findings from
on GAO’s ongoing work, which                        their oversight results.
included national surveys to state
agencies of child welfare, health                   Aspects of Well-Being Monitored by State Agencies in Private Residential Facilities That
and mental health, and juvenile                     Served Youth and Received Government Funding
justice for the year 2006. GAO
achieved an 85 percent response
rate for each of the three surveys.
The work also included site visits
to four states (California, Florida,
Maryland, and Utah) and
discussions with the Departments
of Education (Education), Justice
(DOJ), and Health and Human
Services (HHS). Interim work
related to this testimony was
completed between November
2006 and March 2008, in
accordance with generally
accepted government auditing
standards.                                          Note: Other agency responses included no such facility in state, don’t know, and no response.

What GAO Recommends                                 HHS, DOJ, and Education hold states accountable for youth well-being, but
                                                    federal efforts are hindered by the scope of the agencies’ oversight authority and
GAO recommendations will be                         practices. Most notably, these agencies do not have the authority to hold states
included in its final report upon
                                                    accountable for youth in private residential facilities unless they serve youth in
completion of ongoing work.
                                                    state programs that receive federal funds. For facilities that were under federal
                                                    purview, federal requirements did not always address the identified risks to
                                                    youth—including such risks as suicide and inappropriate use of seclusion and
To view the full product, including the scope       restraint—and program requirements were inconsistent. In monitoring state
and methodology, click on GAO-08-696T. For          compliance, federal agencies did not always include residential facilities in their
more information, contact Kay E. Brown (202)
512-7215 or brownke@gao.gov.                        oversight reviews.
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                   Mr. Chairman and Members of the Committee:

                   Thank you for inviting me here today to discuss our ongoing work
                   reviewing how state and federal agencies protect the well-being of youth
                   in residential facilities who are receiving services for their behavioral or
                   emotional challenges. Nationwide, federal funding to states supported
                   more than 200,000 youth in government or private facilities in 2004. In
                   addition, an unknown number of youth are placed in facilities by parents
                   or others. These facilities include boarding schools and academies, boot
                   camps, and wilderness camps. Overall, residential facilities play an
                   important role in serving youth who cannot be safely served in their
                   communities while living at home, due to risk of running away or harm to
                   themselves or others. However, recent federal reviews highlighted youth
                   fatalities in residential facilities due to neglect or maltreatment, and
                   ongoing federal investigations continue to document incidents of abuse
                   and neglect in some facilities for youth that in some cases have been
                   severe enough to result in hospitalization or death.

                   As you know, states are primarily responsible for ensuring the well-being
                   of youth in facilities and other settings, and do so by setting their own
                   standards of care certain facilities must meet to obtain and maintain an
                   operating license. Federal agencies also set requirements for youth well-
                   being that states agree to uphold in exchange for receiving federal
                   program funds, such as those administered by the Department of Health
                   and Human Services (HHS) to support state systems of care for child
                   welfare, mental health, and substance abuse; the Department of Justice
                   (DOJ), for state juvenile justice systems; and the Department of Education
                   (Education), for state education systems. Further, if patterns of
                   maltreatment are identified and found to violate the civil rights of youth in
                   certain facilities that are operated or substantially sponsored by state and
                   local governments, the federal Civil Rights of Institutionalized Persons Act
                   (CRIPA) authorizes the Attorney General of the United States to conduct
                   investigations and bring actions against state and local governments.
                   However, under the current regulatory framework, federal oversight
                   authority does not extend to private facilities that serve only youth placed
                   and funded by parents or other private entities. In some states,
                   safeguarding youth in these facilities is the primary responsibility of
                   parents and facility staff.

                   My remarks today will focus on the following issues with regard to youth
                   well-being in residential facilities in terms of




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                   (1) what is known about the incidents that adversely affect the well-being
                   of youth in residential facilities,

                   (2) the extent that state oversight ensures the well-being of youth in
                   residential facilities, and

                   (3) the factors that affect the ability of federal agencies to hold states
                   accountable for youth well-being in residential facilities.

                   This testimony was developed using multiple methodologies, and was
                   limited to residential facilities we defined as those that require youth—
                   ages 12 through 17—to reside at the facility and that provide program
                   services1 for youth with behavioral and emotional challenges. We surveyed
                   three state agencies—child welfare, health and mental health, and juvenile
                   justice2—about residential facilities that were government operated,
                   privately operated that received government funds, and privately operated
                   with no government funding. To further our understanding, we visited four
                   states—California, Florida, Maryland, and Utah—and interviewed relevant
                   officials. These states were selected based on the diversity of their state
                   licensing and monitoring policies for residential programs, reports of child
                   maltreatment, and geographic location. The scope of our work did not
                   include the quality of services provided at residential facilities. We also
                   obtained data from HHS’s National Child Abuse and Neglect Data System
                   (NCANDS); reviewed federal statutes, regulations, and guidance; and
                   interviewed HHS, DOJ, and Education officials, as well as national
                   association representatives and other experts on residential facilities for
                   youth. The scope of our work did not include the quality of services
                   provided at residential facilities. We performed our work between
                   November 2006 and March 2008, in accordance with generally accepted
                   government auditing standards.




                   1
                     Our review included facilities that provided one or more of the following types of
                   programs: juvenile justice, youth offender, juvenile delinquency, and incorrigibility
                   programs; treatment programs for youth with behavioral, emotional, mental health, and
                   substance abuse issues; homes for pregnant teens; schools for discipline or character
                   education; and therapeutic group homes, such as a home that specializes in supporting and
                   treating youth with severe emotional disorders.
                   2
                    In this report, we use the term states to refer collectively to the 50 states plus the District
                   of Columbia and Puerto Rico. We did not survey state education agencies because they
                   generally do not license residential facilities for youth.



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                       •   Youth maltreatment and death occurred in government and private
In summary                 residential facilities across the nation, according to states we surveyed;
                           however, data limitations hinder efforts to quantify the full extent of the
                           problem. State-reported data collected by HHS in 2005 showed 1,503
                           incidents of maltreatment by facility staff in 34 states, including physical
                           abuse, neglect or deprivation of necessities, and sexual abuse. Moreover,
                           28 states responding to our survey reported at least one death in
                           residential facilities in 2006, with accidents and suicides among the most
                           common types of fatalities. These reported data, however, did not capture
                           information from all facilities. Many states lack authority under state law
                           to collect data on exclusively private facilities, and data that states did
                           report were often incomplete. As a result, the number of adverse incidents
                           was likely more numerous and widespread than reported.

                       •   All states have processes in place to license and monitor certain
                           residential facilities, but states reported oversight gaps that may place
                           youth in some facilities at higher risk for maltreatment and death. Most
                           notably, state agencies exempted some types of government and private
                           facilities from licensing requirements altogether, primarily juvenile justice
                           facilities and private schools and academies. In addition, licensing
                           standards do not always address suicide and other common risks to youth
                           well-being. Although monitoring is key to ensuring facility compliance
                           with standards, agencies in states we visited reported an inability to
                           conduct yearly on-site reviews of conditions at each facility, because of
                           fluctuating levels of staff resources committed by the state. Similarly,
                           although information sharing can strengthen oversight for facilities shared
                           by multiple agencies, many state agencies reported that they did not
                           routinely share information with other state agencies about negative
                           findings or when facility licenses were suspended or revoked.

                       •   HHS, DOJ, and Education all have processes to hold states accountable for
                           the well-being of youth, but federal efforts are hindered by the scope of
                           the agencies’ oversight authority and monitoring practices. Most notably,
                           these agencies do not have the authority to hold states accountable for
                           youth well-being in private residential facilities unless they serve youth in
                           state programs that receive federal funds. For facilities under federal
                           purview, federal requirements did not always address the primary risks to
                           youth well-being, such as suicide, and requirements were inconsistent
                           among programs. In monitoring state compliance, federal agencies did not
                           always include residential facilities in their oversight reviews.




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                          Nearly all states (49) responding to our survey reported investigating
Youth Maltreatment        complaints of youth maltreatment in residential facilities in 2006, including
Occurred in Facilities    facilities operated by government as well as private entities, and located in
                          both urban or rural areas. The types of maltreatment reported by states
Across the Nation, but    included physical abuse, neglect or deprivation of necessities, and sexual
Data Are Limited and      abuse that sometimes resulted in hospitalization or death. State reported
                          data to NCANDS from 2005 showed that 34 states reported 1,503 incidents
Not Used to Target        of youth maltreatment by facility staff. Of these incidents, neglect or
Federal Civil Rights      deprivation of necessities was the most frequent cause of youth
Investigations            maltreatment, followed by physical abuse, as shown in figure 1.

                          Figure 1: Percentage of State-Reported Incidents of Youth Maltreatment by
                          Residential Facility Staff, Fiscal Year 2005

                          Type of maltreatment


                                    Physical abuse                        24


                                          Neglect or                                      44
                          deprivation of necessities

                                      Sexual abuse           9


                                             Othera                       23

                                                       0             10              20               30           40           50
                                                       Percentage of state reported incidents
                          Source: NCANDS.



                          a
                          ”Other” incidents of youth maltreatment states reported to NCANDS include medical neglect and
                          psychological or emotional maltreatment.


                          Of the states we surveyed, 28 reported that at least one youth had died in a
                          residential facility in 2006. These deaths were primarily due to accidents
                          and suicide, but also due to homicide and application of seclusion and
                          restraint (see fig. 2).




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                   Figure 2: Number of States That Reported Specific Causes of Youth Fatalities in
                   Residential Facilities, 2006

                   Causes of youth fatalities


                              Accidental causes                                        16



                                            Suicide                            9



                            Other cause (specify)                              9



                                         Homicide              3



                     Medically related accident                3



                       Application of seclusion            2
                        or restratint techniques


                                     Did not know                  4

                                                      0            2       4       6   8        10     12     14     16       18
                                                      Number of states
                   Source: GAO analysis of state agency responses to survey.

                   Notes:
                   The survey question was as follows: Of the total youth deaths that you reported, how many died from
                   each of the following causes: (a) suicide, (b) homicide, (c) application of seclusion and restraint
                   techniques, (d) medically related accident, (e) accident that occurred while in a runaway or absence
                   without leave status, (f) other accidental cause, and (g) other causes?
                   Other causes of youth fatalities in residential facilities include natural causes, choking, and internal
                   bleeding.


                   Overall, officials from the states we visited said that the number of
                   maltreatment incidents and deaths was greater than reported due to
                   barriers in collecting and maintaining data. When available,
                   comprehensive reporting of incident data can be used by state and federal
                   agencies to assess the extent of maltreatment in residential facilities,
                   inform risk assessments, target oversight resources, and develop policies
                   to address trends. However, the lack of authority under state law hinders
                   many states from collecting data on certain facilities—such as exclusively
                   private facilities—and expanding oversight to cover them. In addition,
                   states that have such authority reported difficulties sustaining data
                   collection in times of budget shortages. National data in NCANDS for




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                   2005—derived from state reports—suffers from these same limitations, as
                   well as others. First, some states did not report data for residential
                   facilities to NCANDS,3 so the data may understate the number of
                   maltreatments and fatalities. Second, many states (37) did not consistently
                   identify whether the individual maltreating youth was facility staff, a
                   parent, or other individual. Last, NCANDS only tracked fatalities resulting
                   from maltreatment, not suicide or accidents that may be an indicator of
                   neglect or other problem that needs resolution.

                   In the states we visited, youth maltreatment in facilities was attributed to
                   several factors—such as a lack of experienced staff, insufficient staff
                   training, or lack of appropriate supervision—particularly in smaller
                   facilities. For example, county officials in one state told us that adverse
                   incidents were most likely to occur in contractor operated six-bed group
                   homes—frequently used by state probation and child welfare agencies—
                   where the state reimbursement rate is generally not high enough to hire
                   skilled personnel and provide staff with ongoing training, support, and
                   oversight.

                   However, while in most facilities youth maltreatment may occur
                   infrequently as a result of isolated circumstances, investigations of
                   government and private facilities serving youth conducted under DOJ’s
                   Civil Rights Division (Division) have found a pattern or practice of civil
                   rights violations in some facilities, including physical and sexual abuse,
                   medical neglect, and inadequate education. At the end of fiscal year 2006,
                   the latest year for which data were available, federal investigators
                   reported active cases involving over 175 facilities in 34 states. 4 Annual
                   reports from DOJ over the past several years have documented their
                   findings of youth maltreatment in certain juvenile justice or mental health
                   facilities:

                   Physical and sexual abuse occurred without management intervention. In
                   one facility, staff hit youth and slammed them to the ground. Staff hog-tied
                   and shackled youth to poles in public places, and girls were forced to eat


                   3
                    In fiscal year 2005, 10 states did not submit reports showing the number of fatalities in
                   residential facilities, 2 states did not submit a report, 7 states did not track facility incident
                   data in a format that could be shared with NCANDS, and 1 state involved in litigation did
                   not report facility data.
                   4
                     For additional information see U.S. Department of Justice Department of Justice
                   Activities Under the Civil Rights for Institutionalized Persons Act, Fiscal Year 2006,
                   U.S. Department of Justice (Washington, D.C.: 2007).



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                   their own vomit if they threw up while exercising in the hot sun. Staff
                   routinely broke and wired shut the jaws of youth who showed disrespect
                   in another facility. In some facilities, staff engaged in sexual acts with
                   boys. Youth-on-youth violence occurred on an almost daily basis in some
                   facilities, at times resulting in injuries that required hospitalization. Youth
                   were sexually assaulted and threatened with sexual assault by other youth
                   in some facilities, all without effective intervention from management.

                   Severe neglect resulted in poor education, suffering, and death. In a 1-year
                   period at one facility, three boys committed suicide. In one suicide, staff
                   lacked the appropriate tool to cut the noose from a victim’s neck and also
                   did not have oxygen in the tank they brought to help resuscitate him. The
                   dental clinic at one facility was full of mouse droppings, dead roaches, and
                   cobwebs; medications in the cabinet had expired over 10 years ago. In a
                   state-operated mental health facility used by adolescents, older
                   psychotropic medications, with serious side effects, were administered to
                   sedate patients. One adolescent received 22 such psychotropic sedatives
                   over a 2-month period. In another facility, youth were not provided with
                   special education services as required by federal law.

                   The Special Litigation Section of DOJ’s Civil Rights Division receives more
                   credible allegations of violations of youth rights than it can investigate.
                   During fiscal year 2006 alone, the Division received approximately 5,000
                   citizen letters; hundreds of telephone complaints, and 135 inquiries from
                   Congress and the White House. Division officials stated that with
                   additional sources of information, they could better target their scarce
                   investigative resources. Officials said that receiving more detailed
                   information from NCANDS on the incidents of maltreatment and death
                   occurring in specific facilities would be helpful, as would the results of
                   federal agency monitoring reviews of states that highlight findings related
                   to residential facilities. Except in one instance,5 officials said that no
                   federal agencies—including HHS, Education, and DOJ’s Office of Juvenile
                   Justice and Delinquency Prevention (OJJDP)—were coordinating with the
                   Division to provide pertinent oversight results.




                   5
                     According to DOJ officials, the Civil Rights Division has been granted access to HHS’s
                   Centers for Medicare and Medicaid Services (CMS) database that contains the annual
                   survey results for CMS oversight of residential facilities.



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                            All states have processes in place to license and monitor certain
Gaps in State               residential facilities, but our survey identified several gaps that allow some
Oversight of                of the common causes of youth maltreatment and death to go
                            unaddressed. These gaps include the fact that some types of government
Residential Facilities      and private facilities are exempt from licensing requirements, licensing
May Place Well-being        standards do not always address the primary causes of youth
                            maltreatment and death, and state agencies inconsistently monitor and
of Some Youth at Risk       enforce facility compliance and share their monitoring results.


Certain Facilities Are      Licensing all facilities in a state—government or private facilities—can
Exempt from State           help ensure that residential facilities meet relevant state standards. Among
Licensing Requirements      state-operated facilities, however, more than half (28) of juvenile justice
                            agencies reported exempting facilities from licensing.6 In addition, many
                            state agencies reported that certain types of private facilities were also
                            exempt from licensing, regardless of whether they received some
                            government funding or were exclusively private. Private residential
                            schools and academies—a category that includes boarding schools and
                            training or reform schools—were exempted more often from licensing
                            than other types of private facilities, according to survey respondents.
                            Conversely, treatment facilities were the type most commonly required to
                            have a license. Agencies in six states reported they exempted faith-based
                            facilities from licensure.7 In addition, many agencies reported not knowing
                            the licensing status of certain types of private facilities or reported that




                            6
                             The survey question was as follows: Which, if any, of the following types of government
                            operated facilities providing residential targeted (child welfare, health mental health,
                            juvenile justice) services for youth are currently exempt from licensing or monitoring in
                            your state by statute or state regulations—state operated facilities? Response options were
                            (a) exempt from licensing by our agency, (b) exempt from routine monitoring by our
                            agency, (c) exempt from both, (d) not exempt from either, (e) no such facility in state, (f)
                            don’t know, and (g) no response.
                            7
                              These six states are Arizona, Arkansas, Iowa, Maine, Missouri, and South Carolina. In
                            addition, licensing officials we interviewed in Florida stated that faith-based facilities had
                            the option of being licensed by the state or by a faith-based licensing authority. The survey
                            question was as follows: Which, if any, of the following types of private facilities providing
                            residential targeted services for youth are currently exempt from licensing or routine
                            monitoring in your state by statute or state regulation: Faith-based facilities? (a) exempt
                            from licensure by our agency, (b) exempt from routine monitoring by our agency, (c)
                            exempt from both, (d) not exempt from either, (e) no such facility in state, (f) don’t know,
                            and (g) no response.



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                    they did not have certain types of facilities in their state.8 Some states are
                    considering laws that would expand their licensing authority for private
                    facilities.

                    One reason that private residential facilities may be exempt from licensing
                    requirements is that state agencies do not have the necessary statutory or
                    regulatory authority. Regarding residential schools and academies, for
                    example, all agencies in 15 of the 33 states that responded to all three
                    agency surveys reported that they did not have either the authority or the
                    regulatory responsibility to license these facilities.9

                    The lack of licensing for all facilities serving youth has several
                    consequences, in that there are no commonly accepted definitions of
                    facility types. Within individual states, facility operators may bypass state
                    licensing requirements by self-identifying their business as a type that is
                    exempt from state licensing. In Texas, for example, a residential program
                    self-identified as a private boarding school is not regulated by the state
                    licensing agency, but the same facility would require a license if it self-
                    identified as a residential treatment center or therapeutic camp.
                    Inconsistent licensing practices across states can have implications as
                    well. For example, a 2007 directory showed that Utah, which only recently
                    implemented licensing requirements covering wilderness camps, was
                    home to over 25 percent of registered wilderness programs in the United
                    States.

                    Facility licensing is also important because parents and others considering
                    placing youth in private facilities at their own expense do not always have
                    the information they need to screen facilities and make an informed
                    decision. In our testimony on private facilities last October,10 we described
                    cases in which program leaders told parents their programs could provide


                    8
                      Across agencies, states most often responded that they did not have private boot camps,
                    ranches, and wilderness camps. Among state juvenile justice agencies, for example, 25
                    reported having no private boot camps in their state that received government funding, 22
                    reported having no ranches, and 17 reported having no wilderness camps. Somewhat fewer
                    states reported not having exclusively private boot camps (19), ranches (17), and
                    wilderness camps (14).
                    9
                     Two of the 15 states—Massachusetts and Utah—have a central agency that is responsible
                    for licensing residential facilities. While we did not receive all three surveys from Texas, it
                    also exempts residential schools and academies from licensing.
                    10
                     GAO, Residential Treatment Programs: Concerns regarding Abuse and Death in
                    Certain Programs for Troubled Youth GAO-08-146T (Washington, D.C.: October 10, 2007)



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                    services that they were not qualified to offer, claimed to have credentials
                    in therapy or medicine that they did not have, and led parents to trust
                    them with youth who had serious mental disabilities. One national
                    association for programs serving youth with behavioral and emotional
                    difficulties testified before Congress that state licensing was important
                    because the field does not currently have the capacity to certify facility
                    integrity.

                    Some states are considering laws that would expand their licensing
                    authority for private facilities, while some use other methods to provide
                    protections for youth. For example, Florida, among other states, includes
                    requirements addressing youth well-being in contracts facilities must sign
                    to serve youth under state care. Florida officials estimated that 85 percent
                    of residential facilities in the state’s juvenile justice system are private
                    facilities under contract with the state. The agency uses the contract
                    provisions to help ensure that facilities provide youth with needed
                    services in compliance with agency regulations as well as state statutes.

                    Accreditation is another method used by some states in lieu of, or to
                    augment, state licensing requirements. For example, Ohio and Wyoming
                    require specific health-related facilities to obtain accreditation instead of
                    licensure as a condition to serving youth under state care. Of the states
                    responding to our survey, a greater number of health and mental health
                    agencies reported requiring facilities to be accredited by private
                    organizations, due in part to conditions of participation for certain federal
                    programs.11 The accreditation process may require providers to meet
                    higher standards than those required by state licensing bodies; however,
                    accreditation does not necessarily ensure the safety and well-being of
                    youth. Officials from an accrediting organization told us that they do not
                    always inform the state if a facility’s accreditation status has been
                    suspended or limited. In general, fewer states reported requiring
                    accreditation than not across the three agencies we surveyed.




                    11
                      For example, HHS’s Medicaid program, a federal-state health insurance program for low-
                    income and other specific populations, requires that providers of certain health or mental
                    health services obtain accreditation from an approved accrediting organization to certify
                    that the facility meets standards for safety, quality of care, treatment, and services.



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State Licensing Standards    Our survey results showed that the licensing standards that states have in
Do Not Address Some          place for certain government and private residential facilities address
Primary Risks to Youth       many, but not all, of the most common risks to youth well-being that states
                             had identified in our survey. The extent that state licensing standards
Well-being                   cover the various aspects of youth well-being is important to safeguard
                             youth from harm. Almost all states reported that when they required
                             licensing, they required facilities to meet standards related to the safety of
                             the physical plant, proper use of seclusion and restraint techniques,
                             reporting of adverse incidents, and qualification requirements and
                             background checks for staff.12 These standards can help reduce the risk of
                             harm due to accidental causes and staff maltreatment. However, other
                             requirements addressing risks to youth are less often included as a part of
                             licensing. For example, while states reported that almost all juvenile
                             justice facilities are required to have written suicide prevention plans,
                             about a third of state child welfare and health and mental health agencies
                             reported that they do not have similar requirements for government
                             facilities. In addition, most of the agencies in our survey did not require
                             private facilities to have written suicide prevention plans.


State Practices              State agencies reported monitoring youth well-being in residential
Inconsistent in Monitoring   facilities, but survey results showed that certain aspects of youth well-
and Enforcing Facility       being were not included in all monitoring activities, as shown in figure 3.
                             Periodic on-site reviews to monitor and enforce facility compliance help
Compliance                   ensure that licensing standards are taken seriously and that risks to youth
                             well-being are quickly addressed. Among six different aspects of youth
                             well-being we asked about in our survey, the quality of educational
                             programming and the use of psychotropic medications were most likely to
                             be reviewed at only some or none of the facilities monitored by child
                             welfare, health and mental health, and juvenile justice agencies.
                             Conversely, staffing issues were most often included in all monitoring
                             reviews of government and private facilities.


                             12
                               Note: the survey question was as follows: When your agency develops or opens a
                             government-operated residential facility that provides targeted services to youth, is the
                             facility required to meet state standards in any of the following areas? (a) pass inspection
                             of physical plant, (b) provide evidence of safe child care practices, (c) have written
                             procedures for reporting physical or sexual abuse or neglect of youth, (d) meet all staff
                             qualifications requirements, including training, (e) perform staff background checks, (f)
                             meet specified staff-to-child ratios (g) provide evidence of appropriate educational
                             programming, (h) have procedures in place for use of approved seclusion and restraint
                             techniques, and (i) have written suicide prevention plans. A similar question was asked for
                             private facilities.



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Fig. 3: Aspects of Well-Being Monitored by State Agencies in Private Residential Facilities That Served Youth and Received
Government Funding




                                         Note: The survey question was as follows: In 2006, did your agency routinely monitor or follow-up, or
                                         authorize for monitoring or follow-up, any of the following issues—in the absence of a complaint—at
                                         private residential facilities that received government funding providing targeted services for youth?
                                         Response options for this question were: (a) yes, monitored for all; (b) yes, monitored for some; (c)
                                         no, did not monitor; (d) no such facility in the state; (e) don’t know; (f) no response.


                                         In addition, three of the four states we visited reported that they were
                                         unable to meet their goals for conducting annual monitoring visits at
                                         residential facilities due to a lack of resources. States reported that visiting

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                            facilities was necessary at least once a year, if not more often, to ensure
                            that conditions for youth had not changed due to changes in personnel,
                            ownership, or funding. However, the number of facilities visited each year
                            depended on the fluctuating levels of resources committed by the state. In
                            Maryland, agency officials said that state resources were redirected, as
                            necessary, to meet state goals for monitoring residential facilities for
                            youth. In Florida and Utah, however, agency officials said that imbalances
                            between the current workload and staff resources constrained the state’s
                            capacity to conduct efficient, effective, and timely monitoring of
                            residential facilities. A facility operator in California said that on-site
                            monitoring had been as infrequent as once every 5 years.

                            State agencies reported taking actions against facilities with identified
                            problems in the last 3 years, but few reported suspending or revoking a
                            facility’s operating license. Options used included increased monitoring or
                            requiring corrective action plans. Maryland state officials said that they
                            may be less likely to close facilities when they fall below state standards if
                            there is a shortage of facilities in the state and closing the facility would
                            limit the state’s ability to serve the youth who would be displaced by a
                            closing. In addition, these officials noted that shutting down a facility is
                            extremely disruptive to the youth who are placed there.


State Agencies Reported a   Many state agencies reported that they did not routinely share information
Lack of Coordination to     with others regarding negative findings from their monitoring reviews.
Share Oversight Results     State agency coordination to share monitoring results can strengthen
                            oversight in situations where facilities are used by multiple agencies and
                            can help ensure that youth are not placed in facilities that another agency
                            has already identified as having problems. However, one or more state
                            agencies reported that they did not routinely share reports of adverse
                            incidents (17) or when facility licenses had been suspended or revoked
                            (12).

                            Improving coordination among agencies across states is also important
                            because almost all states reported in our survey that they placed some
                            youth in out-of-state residential facilities. For example, child welfare
                            agencies in the top 5 states reported placing over 3,500 youth in at least 26
                            states. Out-of-state placement can be difficult to manage, but may be used
                            when the demand for services exceeds the state’s capacity, particularly for
                            cases requiring highly specialized services—such as therapeutic treatment
                            for youth who committed arson, or who were involved in gangs. State
                            agencies or parents may also place youth in other states where family
                            members reside. Interstate coordination is important is to ensure that

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                           agencies sending youth for placement in other states are able to screen out
                           facilities that have had negative findings uncovered during monitoring
                           reviews or have outstanding allegations of maltreatment. Information
                           sharing about adverse conditions in facilities may be particularly
                           important in cases where state licenses cannot serve to help in making
                           appropriate placement decisions. Four of the top five states that received
                           the greatest number of out-of-state placements—according to child
                           welfare agencies we surveyed—exempted one or more types of facilities
                           from state licensing requirements.


                           HHS, DOJ, and Education hold states accountable for youth well-being in
Federal Agencies           certain residential facilities, but their scope of authority is limited, and
Challenged to              gaps in agency oversight practices result in inconsistent protections for
                           youth. Most notably, these agencies can hold states accountable for
Address Weaknesses         conditions in facilities that serve youth through programs supported by
in State Oversight of      federal funds13—whether government or private—but cannot hold states
                           accountable for conditions in facilities that are exclusively private. When
Residential Facilities     federal agencies do have oversight authority under certain federal
                           programs, however, they do not always hold states accountable for
                           addressing some of the primary risks to youth well-being. For example, in
                           comparing requirements across HHS, DOJ, and Education, only HHS
                           reported requiring states to address abuse and neglect prevention under
                           certain federal programs. (See table 1.)




                           13
                              This derives from Congress’ powers under Article I, Section 8 of the U.S. Constitution
                           and provisions of federal law establishing conditions for state grants. Congress, as part of
                           its spending power, can attach conditions to states’ receipt of federal funds.



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                    Table 1: Federal Program Requirements for States that Address Certain Risks to
                    Youth Well-being in Residential Facilities

                                                                                                    Use of
                                                                             Abuse and             seclusion
                                                                              neglect    Suicide      and    Education
                        Agency and program area                              prevention prevention restraint  quality
                        HHS
                        Child welfare                                           Yes        No           No          Yes
                                                                                                             a
                        Medicaid                                                Yes        Yes         Yes          No
                        Substance abuse and mental health                       Yes        No           No          No
                        DOJ
                        Juvenile justice and delinquency                        No         No           No          No
                        prevention
                        Education
                        Elementary and secondary education                      No         No           No          Yesb
                        Special education and rehabilitative                    No         No           No          Yesb
                        services
                    Source: Analysis of HHS, DOJ, and Education documents.
                    a
                    Applies only to psychiatric residential treatment facilities.
                    b
                    Applies only to public agencies and children placed by public agencies in private facilities.


                    Federal program requirements are limited even for risks such as suicide, a
                    problem documented by several federal agencies. For example, the
                    Centers for Disease Control and Prevention (CDC)—which is part of
                    HHS—have identified suicide as the third leading cause of death in 2004
                    among all U.S. youth,14 and suicide was one of the leading causes of death
                    among youth in residential facilities, as reported by states in this study. In
                    addition, a study commissioned by DOJ recommends increased mental
                    health screening for suicide prevention among incarcerated youth.15 DOJ
                    officials we spoke with generally agreed with the need to focus on suicide
                    prevention in residential facilities, and suggested that additional federal
                    requirements in this area would be helpful. DOJ and HHS have Web sites
                    that list resources states can use for this purpose, but HHS officials said




                    14
                     For additional information, see Department of Health and Human Services’ Centers for
                    Disease Control Morbidity and Mortality Weekly Report on Suicide Trends Among Youths
                    and Young Adults, aged 10-24 years—United States, 1990--2004.
                    15
                     National Center on Institutions and Alternatives. Juvenile Suicide in Confinement: A
                    National Survey. February 2004.



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                    that states are more responsive to a requirement or more specific agency
                    guidance.

                    Similarly, federal programs also do not generally require that states ensure
                    the proper use of seclusion and restraint practices, which have come
                    under intense scrutiny in recent years. Researchers and clinicians have
                    chronicled the inherent physical and psychological risks in each use of
                    these types of interventions—-including death, disabling physical injuries,
                    and significant trauma. Currently, federal seclusion and restraint
                    requirements cover youth placed in psychiatric residential treatment
                    facilities that receive Medicaid payments. However, requirements do not
                    extend to other types of facilities, and federal officials told us that these
                    techniques continue to be used in ways that sometimes cause injury and
                    death. HHS is preparing a draft notice of proposed rulemaking concerning
                    the use of seclusion and restraint in non-medical community-based
                    children’s facilities.16

                    Federal agencies have several means of oversight for youth well-being, but
                    perhaps one of the most rigorous is unannounced site visits to the youth’s
                    place of residence. According to the federal and state officials we spoke
                    with, only an on-site visit to the facility can reveal whether services in the
                    administrative reports are provided under conditions that ensure youth
                    well-being. For example, DOJ officials observed that students in one of the
                    facilities they visited received their educational instruction while in cages,
                    and reported that it would have been difficult to detect this practice in an
                    administrative review.

                    Among the federal agencies we reviewed, all included visits to states to
                    ensure compliance with federal requirements, but agencies did not always
                    include visits to residential facilities. DOJ officials target juvenile justice
                    facilities, such as correctional facilities and detention centers, during on-
                    site reviews, but HHS officials do not necessarily include residential
                    facilities in their oversight reviews of state child welfare systems. HHS


                    16
                       This draft notice has been submitted for departmental review and clearance. This rule is
                    being promulgated in response to the Children’s Health Act of 2000 (Pub. L. No. 106-310, tit.
                    XXXII, §3208) (amending Title V of the Public Health Service Act)), which requires that
                    public or private non-medical, community-based facilities for children receiving support in
                    any form from any program supported, in whole or part, with funds appropriated under the
                    Children’s Health Act, shall protect and promote the rights of each resident of a facility,
                    including the right to be free from any restraint or involuntary seclusion imposed for
                    purposes of discipline or convenience. The statute requires HHS to define in regulation the
                    types of facilities covered by this provision’s requirements.



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                          selects a sample of child case files for site visits, and because most
                          children are in foster home settings, residential facilities are usually not
                          included.

                          Similarly, while federal programs contain provisions agencies can use to
                          enforce state compliance with federal requirements, these provisions vary
                          in their rigor and use, and only DOJ has levied financial penalties.17 To
                          date, HHS and Education have required state corrective action plans as a
                          method of enforcement, but officials said that they may also assess
                          financial penalties in the future.


                          As the results of our work show, protecting youth in residential facilities—
Concluding Remarks        many of whom are troubled and vulnerable to harm from themselves or
                          from others—requires particular vigilance on the part of parents and
                          responsible government agencies. However, abuse, neglect, and civil rights
                          violations documented in all types of residential facilities—government
                          and private, licensed and unlicensed—show that the current federal-state
                          oversight structure is inadequate to protect youth from maltreatment.
                          Comprehensive results of our work will be included in a report to be
                          released next month. This report will provide some options for action that
                          states, federal agencies, and Congress may consider in any restructuring
                          effort. We anticipate our report will also include recommendations for
                          action that federal agencies can implement now under the existing
                          regulatory structure.

                          Mr. Chairman, this completes my prepared statement. I would be happy to
                          respond to any questions you or other Members of the committee may
                          have.


                          For further information regarding this testimony, please contact me at
GAO Contacts and          (202) 512-7215. Individuals making key contributions to this testimony
Acknowledgments           include Lacinda Ayers, Carolyn Boyce, Doreen Feldman, Art Merriam, Jim
                          Rebbe, and Mark Ward.




                          17
                               Federal funding was reduced by $1,552,200 among 8 states and territories in 2007.



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